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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   West Palm Beach Division

                                  Civ. Case No. 9:15-cv-81006-RLR


  L&M COMPANIES, INC.,

            Plaintiff,
  vs.

  MICHAEL J. NAVILIO,

            Defendant.
                                                /


                              OPPOSITION TO MOTION TO DISMISS

            Plaintiff L&M COMPANIES, INC. (“L&M”) hereby files its Opposition to the Motion to

  Dismiss filed by Defendant MICHAEL J. NAVILIO’s (“NAVILIO”), and in support thereof

  states:

            1.      On November 3, 2015, the Court entered the following Order:

            “PAPERLESS ORDER denying as moot [30] Motion for Default Judgment; granting
            [31] Motion to Set Aside Default; and vacating the Clerk of the Court's prior entry of
            default at docket entry 7, however, Defendant is ordered to answer Plaintiff's Complaint
            within 48 hours of the rendition of this Order. Signed by Judge Robin L. Rosenberg on
            11/3/2015. (bkd)” [Emphasis supplied].


            2.      On November 5, 2015, Defendant filed both an Answer and a Motion to Dismiss.

            3.      The Motion to Dismiss should be denied. Not only does it not cite to a Federal

  Rule of Civil Procedure, but also it does not include a memorandum of law citing to supporting

  authority in violation of Local Rule 7.1.
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                                        By:     s/Robert E. Goldman
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                                               Attorney for Plaintiff L&M




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 9, 2015, I electronically filed the foregoing with
  the Clerk of the court using the CM/ECF system. I also certify that the foregoing documents is
  being served this day on all counsel of record identified below in the manner specified, either via
  transmission of the Notices of Electronic Filing generated by CM/ECF or via U.S. Mail for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.


  VIA CM/ECF
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                                                   By:   s/Robert E. Goldman
                                                           Robert E. Goldman




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